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 9                          UNITED STATES DISTRICT COURT
10                       SOUTHERN DISTRICT OF CALIFORNIA
11 IMPRIMISRX, LLC,                               Case No. 3:21-CV-01305-BAS-(DDL)
12                Plaintiffs,                     DECLARATION OF KEITH J.
                                                  WESLEY IN SUPPORT OF
13         vs.                                    PLAINTIFF IMPRIMISRX, LLC’S
                                                  OPPOSITION TO DEFENDANTS’
14 OSRX, INC.; OCULAR SCIENCE,                    RENEWED MOTION FOR
   INC.,                                          JUDGMENT AS A MATTER OF
15                                                LAW OR NEW TRIAL
             Defendants.
16                                                Date: April 25, 2025
                                                  Judge: Cynthia Bashant
17                                                Ctrm: 12B
18                                                NO ORAL ARGUMENT UNLESS
                                                  ORDERED BY THE COURT
19
                                                  Trial Date: August 13, 2024
20                                                Action Filed: July 20, 2021
21    AND RELATED CROSS-ACTION

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                                                               Case No. 3:21-CV-01305-BAS-(DDL)
     DECLARATION OF KEITH J. WESLEY IN SUPPORT OF PLAINTIFF IMPRIMISRX, LLC’S OPPOSITION TO
        DEFENDANTS’ RENEWED MOTION FOR JUDGMENT AS A MATTER OF LAW OR NEW TRIAL
 1                       DECLARATION OF KEITH J. WESLEY
 2         I, Keith J. Wesley, declare and state as follows:
 3         1.     I am an attorney at law, duly admitted to practice before this Court and
 4 all courts of the State of California. I am the managing partner of Ellis George LLP,
 5 counsel of record for Plaintiff ImprimisRx, LLC (“Imprimis”) in this matter. I have
 6 firsthand, personal knowledge of the facts set forth below and if called as a witness
 7 could competently testify thereto.
 8         2.     Attached hereto as Exhibit A is a graphic containing quotes from the
 9 transcript of the trial in this action where Defendants’ counsel and witnesses stated
10 that the trademarks at issue describe the ingredients of certain compounded
11 formulations.
12         3.     Attached hereto as Exhibit B is a true and correct copy of excerpts from
13 the transcript of the trial in this action, cited to as “TT” in Imprimis’s Opposition to
14 Defendants’ Motion for Judgment as a Matter of Law, New Trial, or Remittitur (the
15 “Opposition”).
16         4.     Attached hereto as Exhibit C are true and correct copies of certain
17 exhibits admitted by Imprimis during the trial in this action, cited to as “PX” in the
18 Opposition.
19         5.     Attached hereto as Exhibit D are true and correct copies of certain
20 exhibits admitted by Defendants during the trial in this action, cited to as “DX” in the
21 Opposition.
22         Executed April 11, 2025, at Los Angeles, California.
23         I declare under penalty of perjury under the laws of the United States of
24 America that the foregoing is true and correct.
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                                                 Keith J. Wesley
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                                             -2-               Case No. 3:21-CV-01305-BAS-(DDL)
     DECLARATION OF KEITH J. WESLEY IN SUPPORT OF PLAINTIFF IMPRIMISRX, LLC’S OPPOSITION TO
        DEFENDANTS’ RENEWED MOTION FOR JUDGMENT AS A MATTER OF LAW OR NEW TRIAL
